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FILED

UNITED STATES DISTRICT COURT! SE? ~3 444); 90

MIDDLE DISTRICT OF FLORID
OCALA DIVISION "SSBB. 2 ors taer seuRT
SCALA FiGaiag
ALANA HANSHAW, on behalf of
herself and others similarly situated,
Plaintiff,
v. CASENO.:: Shin ~ Cv = 419-0 - 407A

VETERANS & MEDICAID PLANNING
GROUP, PLLC, a Florida professional
limited liability company,

and ERIC MILLHORN, individually,

Defendants.
/

WAGE THEFT COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, ALANA HANSHAW (‘Plaintiff’), on behalf of herself and others
similarly situated, hereby sues the Defendants, VETERANS & MEDICAID
PLANNING GROUP, PLLC, and ERIC MILLHORN (collectively, “Defendants”) and
alleges as follows:

JURISDICTION, VENUE AND PARTIES

1. This is an action brought under the Fair Labor Standards Act, as
amended, 29 U.S.C. § 216(b) (“FLSA”). Accordingly, this Court has subject-matter
jurisdiction.

2. Venue is proper within the Middle District of Florida because a
substantial part of the events giving rise to this claim arose here.

3. At all times material, Plaintiff was/is a resident of Marion County,

Florida.
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4. At all times material, Defendant, VETERANS & MEDICAID PLANNING
GROUP, PLLC, was/is a Florida Professional Limited Liability Company authorized
to conduct business in the State of Florida, with its principal place of business at
11294 US Highway 301, Oxford, Sumter County, Florida 34484.

5. At all times material, Defendant, ERIC MILLHORN, was/is a resident
of Sumter County, Florida.

GENERAL ALLEGATIONS

6. Defendants are employers as defined by the Fair Labor Standards Act,
as amended, 29 U.S.C. § 216(b), et seq. (“FLSA”).

7. At all material times, Defendants were an enterprise covered by the
FLSA, and as defined by 29 U.S.C. §203(r) and 203(s).

8. During at least one of the relevant years, Defendants had an annual
dollar volume of sales or business of at least $500,000.

9. Plaintiff was employed by Defendants from October 2013 through June
2017 as a paralegal.

10. At some point during her employment, Defendants informally changed
Plaintiff's title to "Manager of Client Relations,” but her primary job duties remained
those of a non-exempt paralegal.

11. While employed by Defendants, Plaintiff engaged in commerce or in
the production of goods for commerce.

12. Defendant MILLHORN is an owner of Defendant VETERANS &
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MEDICAID PLANNING GROUP, PLLC and exercises significant control over the
company’s operations, including but not limited to possessing the power to hire and
fire employees, the power to determine salaries, the responsibility to maintain
employment records and other signs of operational control over significant aspects
of the company’s day-to-day functions.

13. This action is brought under the FLSA to recover unpaid overtime
compensation owed to Plaintiff and all others similarly situated who are or were
employed by Defendants as paralegals and not paid overtime compensation.

14. Plaintiff and others similarly situated were employees of Defendants
under the FLSA.

15. Defendants failed to comply with the FLSA because Plaintiff, and other
similarly situated employees, were regularly required to work in excess of forty (40)
hours a workweek but were not paid overtime compensation as required by the
FLSA.

16. The additional persons who may become plaintiffs in this action are
employees who held positions similarly situated to Plaintiff and who were required to
work in excess of forty (40) hours a workweek but were not paid overtime
compensation as required by the FLSA.

17. Defendants failed to keep accurate time records as required by the
FLSA. Accordingly, Plaintiff, and all others similarly situated, are required to provide
only a reasonable approximation of the number of overtime hours worked for which

compensation is owed, which is presumed correct. The burden then shifts to the
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Defendants to overcome this presumption. Anderson v. Mt. Clemens Pottery Co.,
328 U.S. 680, 687-88 (1946).

18. Defendants’ violations of the FLSA were knowing, willful and in
reckless disregard of the rights of Plaintiff and all other similarly situated.

19. Plaintiff has been required to retain the undersigned counsel to
represent her in this action and is obligated to pay them a reasonable fee for their
services.

COUNT |
OVERTIME — FLSA

(Both Defendants)

20. Plaintiff hereby incorporates by reference the allegations contained in
Paragraphs 1 to 19 as if fully restated herein.

21. During the three (3) year period prior to filing this action, Defendants
failed to pay Plaintiff and all other similarly situated employees overtime
compensation for hours worked over forty (40) in a workweek.

22. Defendants’ failure to pay Plaintiff and all other similarly situated
employees overtime compensation for hours worked over forty (40) in any workweek
constitutes a violation of the FLSA, 29 U.S.C. § 207.

23. Defendants’ violations of the FLSA were knowing, willful and in
reckless disregard of the rights of Plaintiff and all other similarly situated.

WHEREFORE, Plaintiff respectfully requests, on behalf of herself and alll
others similarly situated, that this Court issue an Order awarding damages in the

amount of the unpaid overtime compensation owed, awarding liquidated damages
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pursuant to 29 U.S.C. § 216(b), awarding reasonable attorneys’ fees and costs
pursuant to 29 U.S.C. § 216(b), and awarding all such other relief as the Court
deems just and appropriate.

COUNT Il
WAGE THEFT/BREACH OF ORAL CONTRACT

(Veterans & Medicaid Planning Group, PLLC)

24. Plaintiff hereby incorporates by reference the allegations contained in
Paragraphs 1 to 19 as if fully restated herein.

25. ‘Plaintiff has earned unpaid wages which are owed and payable by
Defendant pursuant to Florida Statute Chapter 448 and/or an agreement between
the parties.

26. Specifically, pursuant to an oral agreement between the parties,
Defendant Veterans & Medicaid Planning Group, PLLC promised to pay Plaintiff a
quarterly bonus.

27. Plaintiff performed her duties under the oral agreement to qualify for
the quarterly bonus, which Defendant owed to Plaintiff at the time of her termination.

28. Defendant, despite Plaintiffs reasonable attempts to obtain payment of
these earned monies, has failed and refused to make payment to Plaintiff as
required by Florida Statute Chapter 448 and/or the oral agreement between the
parties, thereby engaging in unlawful Wage Theft.

29. As a result of Defendant's Wage Theft and failure to pay earned
wages, Plaintiff has suffered damages, including wages, interest and attorneys’ fees.

WHEREFORE, Plaintiff prays for the following relief: (i) Declaratory judgment
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finding that Defendant has engaged in unlawful Wage Theft; (ii) Awarding damages
in the amount of the unpaid wages owed, plus attorneys’ fees and costs pursuant to
Fla. Stat. § 448.08; (iii) Injunctive relief prohibiting Defendant from further engaging
in Wage Theft; and (iv) awarding all such other relief as the Court deems just and

appropriate.
JURY TRIAL DEMAND
Plaintiff demands trial by jury as to all issues.
DATED this 1° day of September, 2017.

Respectfully submitted,
WHITTEL & MELTON, LLC
/s/ Jay P. Lechner

Jay P. Lechner, Esq.

Florida Bar No.: 0504351
Jason M. Melton, Esq.
Florida Bar No.: 605034
One Progress Plaza

200 Central Avenue, #400
St. Petersburg, Florida 33701
Telephone: (727) 822-1111
Facsimile: (727) 898-2001
Service Email:

Pleadings@theFLlawfirm.com
lechneri@theFLiawfirm.com

sonia@theFLlawfirm.com
Attorneys for Plaintiff
